         Case 22-11625-elf                   Doc 8 Filed 06/23/22 Entered 06/23/22 13:01:30                                              Desc Ch 7
                                               First Mtg Corp No POC Page 1 of 2
Information to identify the case:
Debtor
               Kay & Sons LLC                                                                 EIN:   27−0643861
               Name

United States Bankruptcy Court      Eastern District of Pennsylvania                           Date case filed for chapter:          7     6/22/22

Case number:       22−11625−elf
Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                            10/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                       Kay & Sons LLC

2. All other names used in the
   last 8 years
3. Address                                  2550 Boulevard of the Generals
                                            Suite 320
                                            Norristown, PA 19403

4. Debtor's attorney                        BARRY D. KLEBAN                                                      Contact phone (215) 557−2900
                                            McElroy Deutsch Mulvaney & Carpenter, LL
   Name and address                         Suite 1500 Suburban Station Building                                 Email: bkleban@mdmc−law.com
                                            1617 John F. Kennedy Blvd.
                                            Philadelphia, PA 19103

5. Bankruptcy trustee                       GARY F. SEITZ                                                        Contact phone 215−238−0011
                                            Gellert Scali Busenkell & Brown LLC
   Name and address                         8 Penn Center                                                        Email: gseitz@gsbblaw.com
                                            1628 John F. Kennedy Blvd
                                            Suite 1901
                                            Philadelphia, PA 19103

6. Bankruptcy clerk's office                900 Market Street                                                     Hours open:
                                            Suite 400                                                             Philadelphia Office −− 8:30 A.M. to 5:00
   Documents in this case may be            Philadelphia, PA 19107                                                P.M; Reading Office −− 8:00 A.M. to 4:30
   filed at this address. You may                                                                                 P.M.
   inspect all records filed in this case
   at this office or online at
   https://pacer.uscourts.gov.                                                                                    Contact phone (215)408−2800

                                                                                                                  Date: 6/23/22


7. Meeting of creditors                     July 28, 2022 at 10:00 AM                                            Location: Section 341 Meeting will
   The debtor's representative must                                                                              be conducted by telephone.
   attend the meeting to be                 The meeting may be continued or adjourned to a later date. If        Please consult the docket or
   questioned under oath. Creditors         so, the date will be on the court docket.                            contact the trustee appointed to
   may attend, but are not required to                                                                           the case for access or call−in
   do so.                                                                                                        information.
8. Proof of claim                           No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
   Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
   claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
   to do so.

9. Creditors with a foreign                 If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                  extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                            any questions about your rights in this case.
        Case 22-11625-elf              Doc 8 Filed 06/23/22 Entered 06/23/22 13:01:30                                     Desc Ch 7
                                         First Mtg Corp No POC Page 2 of 2
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline               page 1
